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                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                  AUGUSTA DIVISION


JAIMEREPROSSER,

               Petitioner,

       v.                                               CV 116-092
                                                         (Formerly CR 109-073)
UNITED STATES OF AMERICA,

               Respondent.


                                        ORDER



       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which objections have been filed (doc. no. 6). The

Magistrate Judge recommended dismissal of the motion filed pursuant to 28 U.S.C. § 2255

because under Eleventh Circuit case law, the decision in Johnson v. United States, 135 S. Ct.

2551 (2015) - invalidating the "residual clause" of the Armed Career Criminal Act, 18
U.S.C. § 924(e)(2)(ii) - does not apply to career offender enhancements under the sentencing

guidelines. (Doc. no. 2, pp. 3-4.) The Magistrate Judge did not take up the merits of
Petitioner's arguments concerning whether a third degree aggravated assault conviction in
New Jersey qualifies as a crime of violence under the elements or enumerated clause of the
crime of violence definition in the sentencing guidelines because Johnson does not apply to

Petitioner's case, but also noted the documents related to the New Jersey conviction were not

in the record. (Id. at 4.)
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       Petitioner disagrees with the binding Eleventh Circuit case law upon which the

Magistrate Judge relied, United States v. Matchett, 802 F.3d 1185 (11th Cir. 2015), and asks

that his case be held in abeyance until the Supreme Court decides whether Johnson applies

retroactively to collateral challenges to federal sentences imposed under the sentencing

guidelines. See Beckles v. United States, 616 F. App'x 415 (11th Cir. 2015), cert granted,

136 S. Ct 2510 (U.S. June 27, 2016) (No. 15-8544). As there is no basis for holding the case

in abeyance, the Court DENIES the request for a stay. (Doc. no. 5.) The Eleventh Circuit

recently explained, "[G]rants of certiorari do not themselves change the law, and must not be

used by courts as a basis to grant relief that would otherwise be denied." In re Bradford,

-F.3d-, No. 16-14512-J, 2016 WL 4010437, at *2 (11th Cir. July 27, 2016) (citing Schwab v.

Sec'v,Dep'tofCorr., 507 F.3d 1297, 1298-99 (11th Cir. 2007)). Regardless of the outcome

in Beckles, the decision in Matchett is currently the controlling case law in the Eleventh

Circuit, and under that precedent, Petitioner is not entitled to be resentenced.

       Likewise, although Petitioner attached to his objections documents concerning his

New Jersey aggravated assault conviction that had been noted as missing from the record,

they provide no basis for undermining the Magistrate Judge's recommendation for dismissal.

In order for the Court to consider the merits of Petitioner's aggravated assault argument,

Johnson would have to apply to Petitioner's sentence. As explained in the Report and

Recommendation, Johnson does not apply. Thus, the addition of the New Jersey records

does not alter the outcome.

       Accordingly, the Court OVERRULES Petitioner's objections, ADOPTS the Report

and Recommendation of the Magistrate Judge as its opinion, DENIES the motion to stay,
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and DISMISSES the § 2255 motion.

       Further, a federal prisoner must obtain a certificate of appealability ("COA") before

appealing the denial of his motion to vacate. This Court "must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant." Rule 11(a) to the Rules

Governing Section 2255 Proceedings. This Court should grant a COA only if the prisoner

makes a "substantial showing of the denial of a constitutional right." 28 U.S.C. § 2253(c)(2).

For the reasons set forth in the Report and Recommendation, and in consideration of the

standards enunciated in Slack v. McDaniel, 529 U.S. 473, 482-84 (2000), Petitioner has

failed to make the requisite showing. Accordingly, the Court DENIES a COA in this case.1
Moreover, because there are no non-frivolous issues to raise on appeal, an appeal would not

be taken in good faith. Accordingly, Petitioner is not entitled to appeal informa pauperis.

See 28 U.S.C. § 1915(a)(3).

       Upon the foregoing, the Court CLOSES this civil action.

       SO ORDERED this^?9w ofAugust, 2016, at Augusta, Georgia.




                                                                    )ALHALL
                                           UNITED J5TATES DISTRICT JUDGE
                                                         DISTRICT OF GEORGIA




         luIf the court denies a certificate, a party may not appeal the denial but may seek a
certificate from the court of appeals under Federal Rule of Appellate Procedure 22." Rule 11(a)
to the Rules Governing Section 2255 Proceedings.
